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                  Exhibit D
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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                            BROWNSVILLE DIVISION

SPACE EXPLORATION
TECHNOLOGIES CORP.,
      Plaintiff,                             Civil Action No. 1:24-cv-00001
             v.
NATIONAL LABOR RELATIONS
BOARD, a federal administrative agency,
JENNIFER ABRUZZO, in her official
capacity as the General Counsel of the
National Labor Relations Board, LAUREN
M. McFERRAN, in her official capacity as
the Chairman of the National Labor
Relations Board, MARVIN E. KAPLAN,
GWYNNE A. WILCOX, and DAVID M.
PROUTY, in their official capacities as
Board Members of the National Labor
Relations Board, and JOHN DOE in his
official capacity as an Administrative Law
Judge of the National Labor Relations
Board,
      Defendants.



             DECLARATION OF DONALD LECLERC IN SUPPORT OF
             PLAINTIFF’S OPPOSITION TO MOTION TO TRANSFER
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       Pursuant to 28 U.S.C. § 1746, I, Donald Leclerc, declare as follows:

       1.      I am a Manager in Operations Engineering for Human Resources at Space

Exploration Technologies Corp. (“SpaceX”).

       2.      In this role, I set the data governance strategy and direct a team charged with the

development and maintenance of infrastructure supporting the Human Resources information

systems. I am based at SpaceX’s Cape Canaveral, Florida facility.

       3.      In my role I have access to certain of SpaceX’s digital records and databases and

the data they contain.

       4.      I queried our Human Resources analytics SQL database to return a headcount

summary for the date June 15, 2022 using our daily Census report (the “Report”), which is a

snapshot-in-time of various employee attributes including Name, Employee Number, Location,

Employment Status, and Employee Type. The attributes in the daily Census are sourced from our

production instance of Workday HCM and accurately reflect the values in Workday on the day

of reporting. Census reports are not modified to update changes to these attribute values

retroactively. For example, if an employee is hospitalized and not present at work for multiple

days before Human Resources completes leave of absence documentation, the Census report will

continue to show an Employment Status of Active until that documentation is finished. A

backdated leave of a leave of absence start date in the Workday documentation does not

retroactively edit the Census report. Despite these minor discrepancies, the Census report is the

tool that SpaceX regularly utilizes to estimate the number of employees it has on a given date.

       5.      The Report reflects that on June 15, 2022, there were 1,691 total employees based

at the spaceport, production, and development facility for Starship rockets located in Boca Chica,

Texas (“Starbase”). This number includes regular employees, temporary employees, interns, and




                                                 2
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persons on a leave of absence (the Report reflects 15 persons were on a leave of absence at that

time). The total number of active employees was 1,676.

        6.     The Report reflects that on June 15, 2022, there were 6 total employees based at

the human spaceflight mission operations and integration facility in Houston, Texas, all of whom

were regular, active employees.

        7.     The Report reflects that on June 15, 2022, there were 581 total employees based

at SpaceX’s Rocket Development and Test Facility located in McGregor, Texas. This number

includes regular employees, temporary employees, interns, and persons on a leave of absence

(the Report reflects 14 persons were on a leave of absence at that time). The total number of

active employees was 567.

        8.     This Report reflects that on June 15, 2022, there were 37 total employees based at

SpaceX’s Starlink manufacturing facility located in Bastrop, Texas. This number includes

regular employees, temporary employees, interns, and persons on a leave of absence (the Report

reflects 1 person on a leave of absence at that time). The total number of active employees was

36.



        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

                            23 2024, in ____________.
        Executed on January ___,         Cape Canaveral, Florida




                                                     ________________________________
                                                     Donald Leclerc




                                                 3
